Case 08-13141-BLS   Doc 8478-2   Filed 03/22/11   Page 1 of 39




             EXHIBIT 1
              Case 08-13141-BLS       Doc 8478-2         Filed 03/22/11   Page 2 of 39

                                             DRAFT – Exhibit to Motion to Clarify Stay Order


                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                               )
                                                     )     Chapter 11
TRIBUNE COMPANY, et al.,                             )
                                                     )     Case No. 08-13141 (KJC)
                                      Debtors.       )
                                                     )     Jointly Administered

               SAMUEL ZELL’S MOTION FOR RELIEF UNDER RULE 9011

         Samuel Zell (“Mr. Zell”) respectfully submits this motion for relief under Federal Rule of

Bankruptcy Procedure 9011 against the Official Committee of Unsecured Creditors (the

“Committee”) and/or its counsel. Mr. Zell states as follows:

         1.     Mr. Zell is entitled to relief because the Committee violated Rule 9011 by

asserting in the complaint it filed in Official Committee of Unsecured Creditors of Tribune Co.,

et al. v. Fitzsimons, et al., Adversary Proceeding No. 10-54010 (the “Complaint”) specific claims

against Mr. Zell even though it lacks a reasonable basis for those claims.

         2.     Because the claims against Mr. Zell are not warranted by existing law and the

factual allegations in the complaint do not have evidentiary support, the Committee can have no

reasonable basis for any of the claims against Mr. Zell.

         3.     For the foregoing reasons and as explained in the accompanying memorandum in

support of this motion, the Court should impose sanctions against the Committee and its counsel,

including striking the claims against Mr. Zell and awarding reasonable attorneys’ fees and costs

incurred in defending against the Committee’s claims.


Dated: _____________                  BLANK ROME LLP

                                      By:
                                      David Carickhoff (DE No. 3715)
Case 08-13141-BLS   Doc 8478-2    Filed 03/22/11    Page 3 of 39




                    Alan M. Root (DE No. 5427)
                    1201 Market Street, Suite 800
                    Wilmington, Delaware 19801
                    Telephone: (302) 425-6400

                           and

                    JENNER & BLOCK LLP
                    David J. Bradford (admitted pro hac vice)
                    Catherine L. Steege (admitted pro hac vice)
                    Douglas A. Sondgeroth (admitted pro hac vice)
                    Andrew W. Vail (admitted pro hac vice)
                    353 North Clark Street
                    Chicago, Illinois 60654
                    Telephone: (312) 222-9350

                    Counsel for Samuel Zell




                              2
             Case 08-13141-BLS         Doc 8478-2          Filed 03/22/11   Page 4 of 39

                                              DRAFT – Exhibit to Motion to Clarify Stay Order


                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                                 )
                                                       )     Chapter 11
TRIBUNE COMPANY, et al.,                               )
                                                       )     Case No. 08-13141 (KJC)
                                       Debtors.        )
                                                       )     Jointly Administered

                        MEMORANDUM IN SUPPORT OF
               SAMUEL ZELL’S MOTION FOR RELIEF UNDER RULE 9011

         The Unsecured Creditors Committee’s claims against Samuel Zell (“Mr. Zell”) have no

reasonable basis in law or fact and violate Federal Rule of Bankruptcy Procedure 9011. Mr. Zell

submits this motion now in an effort to avoid the wasteful litigation of these baseless claims,

which will result in no recovery to the estate or its creditors.

         Mr. Zell is entitled to relief because the Committee violated Rule 9011 by asserting in the

complaint it filed in Official Committee of Unsecured Creditors of Tribune Co., et al. v.

FitzSimons, et al., Adversary Proceeding No. 10-54010 (the “Complaint”) three claims against

Mr. Zell even though it lacks any reasonable basis for those claims. In particular, at least the

following claims violate Rule 9011:

         •      The Committee’s claim that Mr. Zell allegedly aided and abetted breaches of
                fiduciary duties by the Tribune’s Special Committee at Step One, at a time when
                Mr. Zell was sitting across the table from the Special Committee, at its invitation,
                bargaining at arms-length to purchase Tribune on terms acceptable to the Special
                Committee. (Count VII). There is no factual basis for depriving Mr. Zell of the
                well-established legal protections against aiding-and-abetting liability for a party
                negotiating across the table from a party that allegedly breaches its fiduciary duty.
                The Examiner found this alleged claim “highly unlikely” to succeed.

         •      The Committee’s claim that Mr. Zell breached his fiduciary duties when he
                became a director after Step One was approved, notwithstanding that he
                completely abstained from any board actions related to the transaction. (Count II
                and a similar claim under Delaware General Corporate Law Sec. 160 in Count XI)
                This claim is directly contrary to controlling Delaware authority. The Examiner
           Case 08-13141-BLS         Doc 8478-2      Filed 03/22/11     Page 5 of 39




              was not even asked to address whether Mr. Zell could breach fiduciary duties
              when he abstained from taking action, one way or another, on a transaction in
              which he had a known and fully disclosed interest.

       •      The Committee’s claim that EGI-TRB’s corporate substance should be “pierced”
              and disregarded so that Mr. Zell should be liable as its alter-ego. The Complaint
              simply makes the conclusory allegation that EGI-TRB was Mr. Zell’s “alter-ego,”
              and is bereft of any of the factual allegations that are necessary to state such a
              difficult claim, including a lack of corporate formalities, inadequate capitalization,
              or a sham purpose. No party considered this newly-minted theory sufficiently
              credible to ask the Examiner to consider it, and the Examiner nowhere identified
              it as a plausible basis for liability. It is well beyond the pale.

       Indeed, Professor Black, the DCL Plan Proponents’ key expert witness, testified that he

agrees with Examiner Klee’s conclusion that none of the identified claims against Mr. Zell have

merit. Professor Black testified at the confirmation hearing that the claims against Mr. Zell did

not “have a meaningful chance of success” and did not have “significant recovery value”:

       Q Okay. And do you recall that one of the claims that you did not list among
         those claims were the alleged [breach] of fiduciary duty and aiding and
         abetting breach of fiduciary duty claims that have been alleged against my
         client, Mr. Zell?

       A That’s correct.

       Q Okay. And, in fact, your opinion is that these alleged claims against Mr. Zell
         do not have a significant recovery value. Isn’t that correct?

       A That is my opinion.

       Q And you come to that conclusion, come [to] that opinion because you do not
         believe that these claims have a meaningful chance of success. Isn’t that
         correct?

       A That’s correct. If they were to succeed, there were large dollars attached, but I
         do not think they have a meaningful chance of success.

       Q And that’s true both for any claims alleged at Step 1 or any claims alleged at
         Step 2[?]

       A Yes.


                                                2
            Case 08-13141-BLS          Doc 8478-2      Filed 03/22/11   Page 6 of 39




(Ex. A (3/10/11 Tr.) at 51:18-52:12 (emphasis added).)

       More specifically, Professor Black testified that there was no basis for claims against Mr.

Zell because the record shows that Mr. Zell negotiated at arm’s length and abstained from

participating in board actions related to the transaction:

       Q [O]ne of the reasons why you reach the opinion that there are not claims with
         a meaningful chance of success against Mr. Zell at Step 1 is because Mr. Zell
         was on the other side of the deal from the Tribune. Correct?

       A That is an important source of my opinion. So he could not be liable for
         breach of fiduciary duty as a director because he was not a director at the
         time that Step 1 was negotiated and entered into is my understanding.

       Q And you have no reason or no evidence that you have seen that the
         negotiations regarding the acquisition of the Tribune were anything other than
         arm’s length.

       A I have seen no evidence that they were other than at arm’s length.

       Q And, in fact, with regard to Step 2, the evidence that you’re aware of is that
         Mr. Zell abstained from all of the Tribune board’s consideration of the second
         step merger.

       A So I believe what I say in my report is he abstained we know is a formal
         matter, he abstained. So unless he was informally or secretly trying to
         influence Tribune decision, Tribune’s decision, then it’s hard to see how he is
         liable as a director and I am aware of no evidence that he was secretly
         trying to influence Tribune’s decision. Let me stop there.

       Q. Okay. And so you have not seen any evidence in the record based upon your
          review that you’ve undertaken for the last year, that the claims against Mr.
          Zell or EGI-TRB have any significant merit. Correct?

       A. That’s my view.

(Id. at 52:20-53:24 (emphasis added).)

       Professor Black also confirmed that in his opinion there is no evidence that Mr. Zell acted

with bad faith:



                                                  3
            Case 08-13141-BLS           Doc 8478-2      Filed 03/22/11       Page 7 of 39




        Q And in your opinion, there’s no basis in the record to suggest that Mr. Zell [in]
          any way acted in bad faith here.

        A I have seen no evidence in the record to suggest bad faith on the part of Mr.
          Zell.

        Q And in your opinion, you’ve seen no basis in the record to suggest that Mr.
          Zell knew or thought that the Tribune was insolvent at any point during Step 1
          or Step 2?

        A I am not aware of evidence in the record that Mr. Zell believed Tribune was
          insolvent at either Step 1 or Step 2. And as I testified at deposition, there is
          some evidence suggesting he believed Tribune continued to be solvent at Step
          2.

(Id. at 53:25-54:12.)

        In response to this fatal testimony by the Committee’s expert Professor Black, the

Noteholder Plan Proponents offered no rebuttal. The Noteholders’ expert, Dr. Bruce Beron,

acknowledged at the confirmation hearing that he was not expressing an opinion in disagreement

with Professor Black’s opinion that the claims against Mr. Zell have no meaningful probability

of success. (Ex. B (3/17/11 Tr.) at 254:21-24.)

        Because there is no reasonable basis for any of the claims against Mr. Zell, the

Committee and its counsel have violated Rule 9011. The Court should impose sanctions against

the Committee and its counsel, including striking the claims against Mr. Zell and an award of

reasonable attorneys’ fees incurred in connection with the defense of those baseless claims.1

                                            ARGUMENT

        Rule 9011 requires that, in signing and filing a court pleading, counsel “certif[ies] that to

the best of the person’s knowledge, information, and belief, formed after an inquiry reasonable

1 Although not addressed by this motion, the Committee’s claims against EGI-TRB also suffer from
multiple legal and factual deficiencies. EGI-TRB reserves all rights with respect to those claims. As a
practical matter, however, the withdrawal of the Committee’s “piercing the corporate veil” claims against
Mr. Zell, or an order striking the same, would likely moot the Committee’s claims against EGI-TRB
because EGI-TRB’s only assets are claims against the Estate.
                                                   4
            Case 08-13141-BLS         Doc 8478-2      Filed 03/22/11     Page 8 of 39




under the circumstances,” that (1) the claims “are warranted by existing law or by a nonfrivolous

argument for extension, modification or reversal of existing law or for establishment of new law”

and (2) that the factual allegations in the complaint “have evidentiary support, or, if specifically

so identified, are likely to have evidentiary support after a reasonable opportunity for further

investigation or discovery.” Fed. R. Bankr. P. 9011(b). When a party knows that one of its

alleged causes of action is barred by an affirmative defense, it may not continue to assert that

claim consistent with Rule 9011. See Brubaker v. City of Richmond, 943 F.2d 1363, 1383-85

(4th Cir. 1991) (quoting White v. Gen. Motors Corp., 908 F.2d 675, 682 (10th Cir. 1990) (“Part

of a reasonable attorney’s prefiling investigation must include determining whether any obvious

affirmative defenses bar the case.”)); Sieverding v. Colo. Bar Ass’n, No. Civ.A.02-M-

1950(OES), 2003 WL 22400218, at *28 (D. Colo. Oct. 14, 2003).

       When a party violates Rule 9011, the Court is authorized to sanction the party’s counsel,

the party itself, or both, depending on the responsibility of each for the violation. Fed. R. Bankr.

P. 9011(c) (providing the court may “impose an appropriate sanction upon the attorneys, law

firms, or parties that have violated [Rule 9011(b)] or are responsible for the violation”); see also

In re Hill, 437 B.R. 503, 532 (Bankr. W.D. Pa. 2010) (sanctioning represented party for factual

misstatements). Sanctions against a represented party like the Committee are appropriate where

the party “pursued [a] claim in federal court when it knew, or should have known, that [the]

claim was legally and factually baseless.” Worldwide Primates, Inc. v. McGreal, 26 F.3d 1089,

1093 (11th Cir. 1994); In re Collins, 250 B.R. 645, 665 (Bankr. N.D. Ill. 2000) (finding Rule

9011 violations by counsel and client for failure to make “reasonable inquiry into the state of




                                                 5
             Case 08-13141-BLS           Doc 8478-2       Filed 03/22/11       Page 9 of 39




existing law”).2 Here, given the multiple and obvious legal and factual deficiencies in the

Committee’s claims against Mr. Zell, sanctions against both the Committee and its counsel are

appropriate.

        The Committee and its counsel can have no reasonable belief that the claims against Mr.

Zell are supported by existing law or a non-frivolous argument for modifying existing law, or

will have evidentiary support.        The Court should apply sanctions pursuant to Rule 9011,

including an order striking the Committee’s claims against Mr. Zell and an award of Mr. Zell’s

attorneys’ fees. See Fed. R. Bankr. P. 9011(c)(2) (stating sanctions may include “directives of a

nonmonetary nature” and “reasonable attorneys’ fees”); Fed. R. Civ. P. 11, 1993 Adv. Comm.

Notes (available non-monetary sanctions include “striking the offending paper”); see also

Ivanova v. Columbia Pictures Indus., Inc., 217 F.R.D. 501, 512 (C.D. Cal. 2003) (striking

unfounded and barred factual allegations of complaint pursuant to Rule 11). Although many

Rule 11 motions are brought at later stages of the proceedings, Mr. Zell brings this motion now

in the hope that it will avoid the necessity for wasteful litigation and substantially limit the legal

fees expended on these allegations. Given the factual record established by the Examiner

Report, Professor Black’s testimony, and the affidavits of Mr. Zell and Mr. Pate that are

submitted in support of this motion (Exhibits C and D), there is no reason to delay resolution of

whether these claims comply with Rule 9011.




2 Rule 9011 contains an exception that prohibits monetary sanctions against a represented party for
frivolous legal contentions (which are the responsibility of counsel), but that exception has no effect here
because (i) the exception does not apply to non-monetary sanctions such as the striking of the claims
against Mr. Zell; and (2) the exception applies only to legal contentions, while the Committee’s claims
against Mr. Zell contain multiple factual deficiencies that violate Rule 9011. See Fed. R. Bankr. P.
9011(c)(2)(A); Collins, 250 B.R. at 665 n.3.

                                                     6
           Case 08-13141-BLS         Doc 8478-2      Filed 03/22/11     Page 10 of 39




I.      The Allegations of Aiding and Abetting Breaches of Fiduciary Have No Merit And
        No Reasonable Basis in Fact Or Law.

        The centerpiece of the Committee’s claims against Mr. Zell is that he supposedly aided

and abetted breaches of fiduciary duty by Tribune’s officers and directors when he sat across the

bargaining table and negotiated at arm’s length with the Tribune’s Special Committee in early

2007 – nearly two years before the bankruptcy petition. (Compl. ¶¶ 126-29.) That claim fails

both as a matter of law and under the undisputed factual record. After reviewing hundreds of

thousands of pages of documents and interviewing nearly 40 key witnesses, the Examiner

already has concluded in his comprehensive investigation that the claim is without merit and

there is no “basis to conclude that the Zell Group aided and abetted a breach of any fiduciary

duties in connection with the Leveraged ESOP Transactions.” (Examiner Report, Vol. II, 395,

397.)

        It is well-settled, as a matter of law, that a party who negotiates across the table and at

arm’s-length from a fiduciary is not liable for aiding and abetting a breach of that fiduciary’s

duties even if the deal works out poorly for the party with whom they were bargaining. See

Malpiede v. Townson, 780 A.2d 1075, 1097 (Del. 2001); In re Gen. Motors (Hughes)

Shareholder Litig., No. Civ.A. 20269, 2005 WL 1089021, at *26 (Del. Ch. May 4, 2005). Quite

simply, “arm’s-length negotiations cannot give rise to liability for aiding and abetting.”

Malpiede, 780 A.2d at 1097. The Committee’s aiding and abetting claim fails as a matter of law

for those reasons.

        If the law permitted liability in these circumstances, parties would be deterred from

entering into freely-negotiated contracts for fear that of liability. It would be both unprecedented

and harmful to the fundamental right to contract to purchase property, to impose upon a party,


                                                 7
           Case 08-13141-BLS         Doc 8478-2      Filed 03/22/11     Page 11 of 39




who negotiates at arm’s-length in a competitive process, some duty to determine whether their

counter-party is complying with his or her fiduciary duties in connection with the bargaining.

       The only exception to that rule is if a party offers personal benefits to their counter-party

that were so plainly excessive and represented such a significant percentage of the total

transaction value that a court could reasonably infer that the payments were inherently wrongful

and made specifically to induce the fiduciaries to breach their duties. McGowan v. Ferro, No.

CIV.A. 18672-NC, 2002 WL 77712, at *3 (Del. Ch. Jan. 11, 2002). The Committee apparently

seeks to shoehorn its claim into that narrow exception by alleging that Mr. Zell “dangled

significant financial incentives” before Tribune’s officers and directors to entice them to approve

the LBO deal. (E.g., Compl. ¶¶ 126-29.)

       There is, however, no factual basis for that allegation.         First, as the Examiner’s

investigation determined, there is no factual basis to conclude that any actions by Tribune’s

officers or directors were based on any benefits Mr. Zell offered. (See, e.g., Examiner’s Report,

Vol. I at 398-399 (citing sworn testimony and interviews of Thomas Whayne, Dennis

FitzSimons, Nils Larsen, Chandler Bigelow, and Sam Zell).) Given the thoroughness of the

Examiner’s review, the Committee can have no reasonable basis to allege otherwise or to

contend that contrary facts might reasonably be developed. Second, benefits that Tribune’s

management stood to receive as a result of a change of control because of the LBO were based

not on incentives offered by Mr. Zell, but on the terms of existing Tribune compensation plans

that predated any negotiations with Mr. Zell, such as the “Transitional Compensation Plan.”

(See Ex. C (Pate Declaration) at ¶ 4; see also Ex. D (Zell Declaration) at ¶ 4.) Third, the factual

record shows that Mr. Zell actually negotiated to reduce the cash benefits paid to management as

a result of the transaction by negotiating to convert $37 million of those benefits into an equity

                                                8
           Case 08-13141-BLS         Doc 8478-2      Filed 03/22/11    Page 12 of 39




incentive plan that placed the benefits “at risk” in the post-transaction Tribune. (See Ex. C (Pate

Declaration) at ¶ 7.)

       For each of those reasons, the Committee and its counsel can have no reasonable basis to

continue to assert its aiding and abetting claim against Mr. Zell. The claim violates Rule 9011

and sanctions should apply.

II.    The Committee’s Breach of Fiduciary Duty Claims Also Have No Reasonable Basis.

       Another novel claim that the Committee asserts against Mr. Zell is that he allegedly

breached fiduciary duties he owed to Tribune while he was a member of Tribune’s Board of

Directors in connection with “Step Two” of the LBO transaction, when he did nothing. This

claim (and the related Delaware General Corporation Law §§ 160 and 173 claim) seeks to take

the law where it has never gone before, and violates Rule 9011.

       “Delaware law clearly prescribes that a director who plays no role in the process of

deciding whether to approve a challenged transaction cannot be held liable on a claim that the

board’s decision to approve that transaction was wrongful.” In re Bridgeport Holdings, Inc., 388

B.R. 548, 566 (Bankr. D. Del. 2008) (citation omitted) (granting motion to dismiss counts

against director who played no role in approving challenged transaction); In re Tri-Star Pictures,

Inc., Litig., Civ. A. No. 9477, 1995 WL 106520, at * 2 (Del. Ch. Mar. 9, 1995) (no liability for

directors who “deliberately removed themselves from the decision-making process” and the

preparation of challenged proxy materials) (citing Citron v. E.I. Du Pont de Nemours & Co., 584

A.2d 490, 499 (Del. Ch. 1990)).

       For example, in Citron, a shareholder challenged the merger of Remington and DuPont.

584 A.2d 499.      In that transaction, because of potential conflicts of interest, directors of

Remington who were affiliated with DuPont abstained from decision-making on the transaction,

                                                9
           Case 08-13141-BLS         Doc 8478-2      Filed 03/22/11     Page 13 of 39




leaving authority in the hands of independent directors on a “Merger Committee.” Id. at 499-

500. However, when a “logjam” occurred during negotiations, one of the non-independent

directors intervened to bring the parties back to the bargaining table. Id. at 499. When the

merger was later challenged, the Delaware Chancery Court held that the non-independent

directors who had abstained from decision-making were not subject to fiduciary duty claims

because they “played no role in the Merger Committee’s, or the Board’s, decisionmaking

process.” Id. As to the director who intervened to break the “logjam,” the court held that no

claim could be asserted against him because nothing showed that his “limited role in bringing the

two sides together . . . caused any actionable harm to the plaintiff class,” and he was “not one of

the persons whose decisionmaking actions caused that result to come about.” Id. at 499 n.12.

       The rule that a director who abstains from decision-making cannot be liable for conduct

in which he or she did not participate applies with force here. It is undisputed (and undisputable

in good faith) that Mr. Zell abstained from Board decisions relating to the LBO, including that he

had no role in Tribune’s decision to approve Step Two. (See, e.g., Ex. E (12/18/07 Tribune BOD

Minutes [TRB 00415683-86]) (also identified as Examiner’s Exhibit 11, DCLPP Exhibit 879,

and NPP Exhibit 1849); Ex. D (Zell Declaration) at ¶ 6.) The Committee tacitly recognizes as

much, directing all of its factual allegations purportedly supporting the breach of fiduciary claims

against the Special Committee and the other Tribune directors, not Mr. Zell. (See Compl.

¶¶ 197-201.)

       In addition, the Committee can have no reasonable basis to assert that despite Mr. Zell’s

formal abstention he secretly influenced others to act. (See Ex. D (Zell Declaration) at ¶ 6.)

Indeed, the Committee’s own expert admits he has seen no such evidence and therefore rejects

any breach of fiduciary duty claims against Mr. Zell and the Noteholders’ expert expresses no

                                                10
           Case 08-13141-BLS         Doc 8478-2         Filed 03/22/11   Page 14 of 39




opinion that disagrees with Professor Black’s opinion. (Ex. A (3/10/11 Tr.) at 51:18-54:18; Ex. B

(3/17/11 Tr.) at 254:21-24.) This claim is so fanciful that no one asked the Examiner to address

it – although the Examiner did address potential liability of other directors on the premise that

they had acted to approve Step Two and found it unlikely that they could be held liable.

       Accordingly, because Mr. Zell had no role in the challenged decision, he cannot be liable

for breach of fiduciary duty. Tri-Star Pictures, 1995 WL 106520, at * 2. For the same reason,

he can have no liability under D.G.C.L. §§ 160 and 173. The Committee can have no reasonable

basis to contend otherwise and cannot maintain this claim consistent with Rule 9011.

III.   The Committee Does Not Have And Cannot Present A Reasonable Basis To Allege
       An Alter-Ego Theory of Liability.

       Finally, the Committee’s claim that Mr. Zell is the alter-ego of and liable for EGI-TRB’s

obligations is well beyond the pale. The Complaint is bereft of any factual allegations that

would support a “piercing” theory—because no such facts exist. This claim is also so novel that

no one considered it worth asking the Examiner even to consider. Rule 9011 requires this claim

to be stricken or withdrawn.

       Delaware courts will not lightly set aside the corporate form; a party pursuing such a

theory must meet stringent legal tests. Meeting those standards under Delaware law “is a

difficult task.” Wallace v. Wood, 752 A.2d 1175, 1183 (Del. Ch. 1999). Under those tests, the

Committee first must show a failure to treat EGI-TRB as a separate corporate entity, through a

disregard of corporate formalities, undercapitalization, and/or treatment of the entity as a façade.

Mason v. Network of Wilmington, Inc., No. 19434-NC, 2005 WL 1653954, at *3 (Del. Ch. July

1, 2005). The Committee has offered no factual allegations with respect to any of those factors;

nor is there any basis to make such allegations.


                                                   11
             Case 08-13141-BLS      Doc 8478-2      Filed 03/22/11     Page 15 of 39




        Second, the Committee is required to show EGI-TRB was established for an “improper

purpose,” such as “fraud or similar injustice.” Id.; see also La Chemise Lacoste v. Gen. Mills,

Inc., 53 F.R.D. 596, 603 (D. Del. 1971) (piercing corporate veil requires corporate form to be

“used as an instrumentality to perpetuate fraud, justify wrong” or commit another injustice). In

other words, the Committee must show that EGI-TRB was “an artifice and a sham designed to

execute illegitimate purposes in the abuse of the corporate function and the immunity that it

carries.” Lacoste, 53 F.R.D. at 603 (emphasis added). The Committee has not and cannot

identify any evidence that would allow it to meet this burden and has no plausible basis to make

this assertion. EGI-TRB was formed to—and did—invest over $300 million in Tribune, funds

which appear to be entirely lost. It is completely baseless to suggest that there is some basis to

“pierce” its existence. Accordingly, the Committee’s “alter-ego” theory is baseless and violates

Rule 9011.

        Because the Committee’s Complaint is utterly bare of any factual allegations to support a

“piercing” theory—and because the Committee cannot allege otherwise consistent with Rule

9011—any claims against EGI-TRB will result in no recovery for the estate. As noted, EGI-

TRB has no assets other than its debt position in the Debtor—which it has offered to relinquish

in return for a release—and there is no basis to set aside EGI-TRB’s corporate form.

Accordingly, proceeding on any claims against EGI-TRB would result only in wasteful litigation

that will not benefit the estate.




                                               12
           Case 08-13141-BLS        Doc 8478-2      Filed 03/22/11    Page 16 of 39




                                        CONCLUSION

       For the foregoing reasons, the Court should enter an order finding that the Committee’s

claims against Mr. Zell and the claim that Mr. Zell is an alter ego of EGI-TRB violate Rule 9011.

The Court should sanction the Committee and/or its counsel, including by striking the claims

against Mr. Zell and by awarding attorneys’ fees and costs incurred in defending against the

Committee’s claims.


Dated: _____________                 BLANK ROME LLP

                                     By:
                                     David Carickhoff (DE No. 3715)
                                     Alan M. Root (DE No. 5427)
                                     1201 Market Street, Suite 800
                                     Wilmington, Delaware 19801
                                     Telephone: (302) 425-6400

                                            and

                                     JENNER & BLOCK LLP
                                     David J. Bradford (admitted pro hac vice)
                                     Catherine L. Steege (admitted pro hac vice)
                                     Douglas A. Sondgeroth (admitted pro hac vice)
                                     Andrew W. Vail (admitted pro hac vice)
                                     353 North Clark Street
                                     Chicago, Illinois 60654
                                     Telephone: (312) 222-9350

                                     Counsel for Samuel Zell




                                               13
Case 08-13141-BLS   Doc 8478-2   Filed 03/22/11   Page 17 of 39




             EXHIBIT A
 Case 08-13141-BLS   Doc 8478-2   Filed 03/22/11   Page 18 of 39



            IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE DISTRICT OF DELAWARE


IN RE:                             )      Case No. 08-13141-KJC
                                   )
                                   )
TRIBUNE COMPANY,                   )      Chapter 11
                                   )
                                   )      Courtroom 5
                                   )      824 Market Street
           Debtors.                )      Wilmington, Delaware
                                   )
                                   )      March 10, 2011
                                   )      10:00 a.m.


                   TRANSCRIPT OF PROCEEDINGS
          BEFORE THE HONORABLE JUDGE KEVIN J. CAREY
                UNITED STATES BANKRUPTCY JUDGE


APPEARANCES:

For Debtors:                       Sidley Austin, LLP
                                   BY: JAMES CONLAN, ESQ.
                                   BY: JAMES BENDERNAGEL, ESQ.
                                   BY: JAMES DUCAYET, ESQ.
                                   One South Dearborn
                                   Chicago, IL 60603
                                   (312) 853-7000

                                   Cole, Schotz, Meisel, Forman
                                   & Leonard, P.A.
                                   BY: NORMAN PERNICK, ESQ.
                                   500 Delaware Ave., Ste. 1410
                                   Wilmington, DE 19801
                                   (302) 652-3131

ECRO:                              BRANDON McCARTHY

Transcription Service:             DIAZ DATA SERVICES
                                   331 Schuylkill Street
                                   Harrisburg, Pennsylvania 17110
                                   (717) 233-6664
                                   www.diazdata.com

Proceedings recorded by electronic sound recording;
transcript produced by transcription service
         Case 08-13141-BLS   Doc 8478-2   Filed 03/22/11   Page 19 of 39
                                                                              51

 1   examination?

 2                    MS. STEEGE:   Good morning, Your Honor.          Catherine
 3   Steege on behalf of EGI, TRB, and Mr. Zell.
 4   BY MS. STEEGE:
 5
     Q        Good morning, Professor Black.
 6
     A        Good morning.
 7
     Q        Just a few questions for you.         Do you recall that you
 8
     testified yesterday afternoon on direct that you had
 9
     allocated $300 million of value to the litigation trust in
10
     connection with offering your opinion about the
11
     reasonableness of the DCL plan settlement?
12

13   A        As a moderately conservative estimate, yes.

14   Q        Okay.    And you also testified as to how you arrived at

15   that $300 million which claims you included in arriving at

16   that number.       Do you recall that testimony?

17   A        Yes, I do.
18   Q        Okay.    And do you recall that one of the claims that
19   you did not list among those claims were the alleged bridge
20
     of fiduciary duty and aiding and abetting breach of
21
     fiduciary duty claims that have been alleged against my
22
     client, Mr. Zell?
23
     A        That's correct.
24
     Q        Okay.    And, in fact, your opinion is that these
25
     alleged claims against Mr. Zell do not have a significant
         Case 08-13141-BLS    Doc 8478-2   Filed 03/22/11   Page 20 of 39
                                                                               52

 1   recovery value.         Isn't that correct?

 2   A        That is my opinion.
 3   Q        And you come to that conclusion, come that opinion
 4   because you do not believe that these claims have a
 5
     meaningful chance of success.           Isn't that correct?
 6
     A        That's correct.      If they were to succeed, there were
 7
     large dollars attached, but I do not think they have a
 8
     meaningful chance of success.
 9
     Q        And that's true both for any claims alleged at Step 1
10
     or any claims alleged at Step 2.
11
     A        Yes.
12

13   Q        Okay.   Now there's been some questions asked about

14   your bankruptcy law experience and you've been candid that

15   you don't hold yourself out as a bankruptcy law expert, but

16   one of the things you do hold yourself out as, as a

17   corporate governance expert.           Correct?
18   A        Corporate law, corporate governance, corporate
19   acquisitions, yes.
20
     Q        Okay.   And in connection with that expertise, one of
21
     the reasons why you reach the opinion that there are not
22
     claims with a meaningful chance of success against Mr. Zell
23
     at Step 1 is because Mr. Zell was on the other side of the
24
     deal from the Tribune.         Correct?
25
     A        That is an important source of my opinion.               So he
         Case 08-13141-BLS   Doc 8478-2   Filed 03/22/11   Page 21 of 39
                                                                              53

 1   could not be liable for breach of fiduciary duty as a

 2   director because he was not a director at the time that Step
 3   1 was negotiated and entered into is my understanding.
 4   Q        And you have no reason or no evidence that you have
 5
     seen that the negotiations regarding the acquisition of the
 6
     Tribune were anything other than arm's length.
 7
     A        I have seen no evidence that they were other than at
 8
     arm's length.
 9
     Q        And, in fact, with regard to Step 2, the evidence that
10
     you're aware of is that Mr. Zell abstained from all of the
11
     Tribune board's consideration of the second step merger.
12

13   A        So I believe what I say in my report is he abstained

14   we know is a formal matter, he abstained.               So unless he was

15   informally or secretly trying to influence Tribune decision,

16   Tribune's decision, then it's hard to see how he is liable

17   as a director and I am aware of no evidence that he was
18   secretly trying to influence Tribune's decision.                Let me
19   stop there.
20
     Q        Okay.   And so you have not seen any evidence in the
21
     record based upon your review that you've undertaken for the
22
     last year, that the claims against Mr. Zell or EGI, TRB have
23
     any significant merit.        Correct?
24
     A        That's my view.
25
     Q        And in your opinion, there's no basis in the record to
         Case 08-13141-BLS   Doc 8478-2   Filed 03/22/11   Page 22 of 39
                                                                           54

 1   suggest that Mr. Zell any way acted in bad faith here.

 2   A        I have seen no evidence in the record to suggest bad
 3   faith on the part of Mr. Zell.
 4   Q        And in your opinion, you've seen no basis in the
 5
     record to suggest that Mr. Zell knew or thought that the
 6
     Tribune was insolvent at any point during Step 1 or Step 2?
 7
     A        I am not aware of evidence in the record that Mr. Zell
 8
     believed Tribune was insolvent at either Step 1 or Step 2.
 9
     And as I testified at deposition, there is some evidence
10
     suggesting he believed Tribune continued to be solvent at
11
     Step 2.
12

13   Q        Okay.    Now, in fact, if a litigation trust or a party

14   pursues a claim without significant merit that has a very,

15   very low probability for success and they don't hit a home

16   run and lose, that can cause the litigation trust or the

17   party bringing that claim to suffer some economic downside.
18   Correct?
19                    MR. SOTTILE:   Objection to form, lack of
20
     foundation.
21
                      THE COURT:   Well, let me just ask this.
22
     Understanding that almost every question asked on cross is
23
     designed in some respect to be self serving --
24
     (Laughter)
25
                      THE COURT:     -- even I get the point.
Case 08-13141-BLS   Doc 8478-2   Filed 03/22/11   Page 23 of 39




             EXHIBIT B
 Case 08-13141-BLS   Doc 8478-2   Filed 03/22/11   Page 24 of 39




            IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE DISTRICT OF DELAWARE


IN RE:                             )      Case No. 08-13141-KJC
                                   )
TRIBUNE COMPANY                    )      Chapter 11
                                   )      Courtroom 5
                                   )      824 Market Street
           Debtors.                )      Wilmington, Delaware
                                   )
                                   )      March 17, 2011
                                   )      10:00 a.m.


                   TRANSCRIPT OF PROCEEDINGS
          BEFORE THE HONORABLE JUDGE KEVIN J. CAREY
                UNITED STATES BANKRUPTCY JUDGE

APPEARANCES:

For Debtors:                Sidley Austin, LLP
                            BY: JAMES BENDERNAGEL, ESQ.
                            BY: RONALD S. FLAGG, ESQ.
                            BY: JAMES CANLON, ESQ.
                            BY: JAMES DUCAYET, ESQ.
                            One South Dearborn
                            Chicago, IL 60603
                            (312) 853-7000

                            Cole, Schotz, Meisel, Forman
                            & Leonard, P.A.
                            BY: NORMAN PERNICK, ESQ.
                            500 Delaware Ave., Ste. 1410
                            Wilmington, DE 19801
                            (302) 652-3131

ECRO:                       AL LUGANO

Transcription Service:      DIAZ DATA SERVICES
                            331 Schuylkill Street
                            Harrisburg, Pennsylvania 17110
                            (717) 233-6664
                            www.diazdata.com

Proceedings recorded by electronic sound recording;
transcript produced by transcription service
         Case 08-13141-BLS   Doc 8478-2   Filed 03/22/11   Page 25 of 39
                                                                           254


 1                 MR. BRADFORD:     Yes, Your Honor.

 2                 MR. SOTTILE:     Your Honor, I'm sorry to interrupt.

 3   It is my intention to ask the Court to consider a motion to
 4   exclude the witness's testimony on the grounds previously
 5   described.     I was assuming the Court would want to hear that
 6
     at the conclusion of the examination, but I'm happy to
 7
     proceed --
 8
                   THE COURT:     You assumed correctly.
 9
                   MR. SOTTILE:     Thank you, Your Honor.
10
                   MR. BRADFORD:     David Bradford for EGI TRB and Mr.
11
     Zell.
12
     BY MR. BRADFORD:
13
     Q        Dr. Beron, to be clear your analysis is of the claims
14

15   against the lenders that are being settled.               Is that

16   correct?

17   A        That's correct.

18   Q        And you did not do an analysis of claims against third

19   parties, correct?
20   A        Correct.
21
     Q        And you are not offering an opinion about whether the
22
     claims against Mr. Zell have no meaningful probability of
23
     success as Professor Black testified.             Is that correct?
24
     A        That is correct.
25
                   MR. BRADFORD:     No further questions.
Case 08-13141-BLS   Doc 8478-2   Filed 03/22/11   Page 26 of 39




             EXHIBIT C
            Case 08-13141-BLS        Doc 8478-2      Filed 03/22/11    Page 27 of 39




                           DECLARATION OF WILLIAM C. PATE

       I, William C. Pate, state the following based on my personal knowledge:

       1.        I am a Managing Director of Equity Group Investments (“EGI”). Since March

2007, I have been Vice President of EGI-TRB LLC (“EGI-TRB”). Since December 20, 2007, I

have been a member of Tribune Company’s Board of Directors.

       2.        In early 2007, I worked with my colleagues at EGI-TRB to develop a proposal in

connection with an on-going process by Tribune to consider possible strategic transactions for

the company.

       3.        In February and March 2007, I was involved in the review and analysis of, among

other things, existing Tribune plans to compensate its executives if there was a change of control.

These plans were established long before any discussions between EGI-TRB and Tribune.

       4.        Under the terms of the existing plans, certain Tribune managers stood to obtain

financial benefits if a change in control occurred.       These benefits included payments of

compensation under the Transitional Compensation Plan, which was created long before any

discussions between EGI-TRB and Tribune. It also included gross-up provisions under which

Tribune would pay taxes the executives would incur when they received their benefits. Other

plans provided for the vesting of restricted stock and stock options upon a change in control. In

addition to these plans, in 2006, Tribune had created an additional plan that would pay

management a success bonus if a strategic transaction were completed. These existing plans and

compensation arrangements would provide benefits under a variety of change in control

circumstances.
            Case 08-13141-BLS       Doc 8478-2    Filed 03/22/11    Page 28 of 39




       5.      EGI-TRB never offered management benefits or incentives to encourage support

or favor EGI-TRB’s proposal. It also did not offer to increase the benefits that management

stood to gain from a change in control.

       6.      EGI-TRB proposed that Tribune create an equity incentive plan that would

provide management with phantom equity equal to up to 5% of Tribune’s stock. This plan

would have value to management only if, after the transaction, the value of Tribune’s equity

increased and only if the participants in the plan remained employed by Tribune so that they

would vest. The benefits of this plan were spread among approximately 200 employees, so that

the phantom stock allocation to any one individual would be limited.   The incentive plan was

intended to provide modest and reasonable incentives to promote the long-term success of

Tribune and the retention of management, and did not provide for a quick pay out if a deal was

approved.

       7.      At the same time that it negotiated to increase incentives that would align

management with the long-term financial performance of Tribune, EGI-TRB negotiated to

reduce the cash benefits that would be provided to management. In negotiations with Tribune,

EGI-TRB sought to reduce the cost to Tribune of management change in control payments.

Ultimately, Tribune and EGI-TRB agreed that $37 million in “management fees” – i.e., cash

compensation that would otherwise be paid to management – would instead be invested in a

management equity incentive plan, which would reward management based on the long-term

financial performance of Tribune. This $37 million that otherwise would have been paid directly

to management as cash compensation in connection with a change of control was instead used to

fund a pool of phantom equity equal to 3% of Tribune’s stock, which vested over time and

therefore promoted retention. Under this plan, EGI-TRB’s intent was to replace a portion of



                                              2
            Case 08-13141-BLS      Doc 8478-2     Filed 03/22/11     Page 29 of 39




management’s immediate cash benefits from a change of control with an equity plan that would

encourage retention and better align management’s interests with the long-term interests of the

company.

       8.     None of the members of the Special Committee who were responsible for

determining whether to accept the EGI-TRB proposal were entitled to any financial benefits

under the plans proposed by EGI-TRB.

       9.     Tribune and EGI-TRB negotiated at arm’s length over all aspects of the

Transactions, including any benefits that would be paid to management.




                                              3
Case 08-13141-BLS   Doc 8478-2   Filed 03/22/11   Page 30 of 39
Case 08-13141-BLS   Doc 8478-2   Filed 03/22/11   Page 31 of 39




             EXHIBIT D
Case 08-13141-BLS   Doc 8478-2   Filed 03/22/11   Page 32 of 39
Case 08-13141-BLS   Doc 8478-2   Filed 03/22/11   Page 33 of 39
Case 08-13141-BLS   Doc 8478-2   Filed 03/22/11   Page 34 of 39
Case 08-13141-BLS   Doc 8478-2   Filed 03/22/11   Page 35 of 39




               EXHIBIT E
                     Case 08-13141-BLS                        Doc 8478-2   Filed 03/22/11   Page 36 of 39




    I                                                    TRIBUNE COMPANY
                                                     BOARD OF DIRECTORS MEETING
                                                          DECEMBER 18, 2007




   .        The Tribune Company Board of Directors met at i :00 p.m. on Tuesday, December 18,2007,
            pursuant to notice. The followíng directors participated in the meeting at Tribune Tower:
            Dennis J. FitzSimons and William A. Osborn. Enrique Hernandez, Jr., Robert S. MOlTisoii,
            Dudley S. Taft and Samuel Zell participated in the meeting by telephone. Betsy Holden
            participatcd in a portion of the meeting by telephone.

            Chandler Bigelow, David P. Eldcrsveld, Donald C. Grenesko, Crane H. Kenney, Timothy J.
            Landon, John E. Reardon and Scott C. Smith participated in the meeting. Chip Mulaney of
            Skadden, Arps, Slate, Meagher & Floni LLP, Thomas Cole of Sidley Austin LLP, Tom Whayne
            of Morgan Stanley, and Chad Rucker and Bryan Browning of              Valuation Research Corporation
            also participated in the meeting. Steve Rosenblum of Waclitell, Lipton Rosen & Katz
            participated in the meeting by telephone.

            Mr. FitzSimons acted as chairman of the meeting and Mr. Kenney acted as secretary.

            Mr. FitzSimons called the meeting to order at i :00 p.m.


    I       INTRODUCTION

            Mr. FitzSimons provided a brief    update on the FCC approval of the going private transaction and
            the status of the due diligence review being conducted by Valuation Research Corporation
            eVRC") and the lead syndication banks in connection with the second step financing.

            APPROVAL OF MINUTES

            A motion was made, seconded and approved to adopt the minutes otthe December 4,2007
            meetings of the Board of Directors.

            COMPANY PERFORMANCE



  .        Mr. Grenesko reviewed the projected financial performance of each of the Company's lines of
           business for December ancl commented on factors impacting the results. A discussion followed
           the presentation.

           TRANSACTION UPDATE

           Mr. Kenney presented an update on the status of the merger and the latest discussions with the

   I       lenders. A discussion followed.


           Mr. Kenney noted that'
                                                                           REDACTED




Professionals' Eyes Only                                                                                           TRB0415683
Highly Confidential -- Attorneys' Eyes Only
                   Case 08-13141-BLS                          Doc 8478-2      Filed 03/22/11   Page 37 of 39




    I                                                REDACTED

             - ~_.- FO"cwíl1g discussion, a motioñ\vãs ñ1ade, seeondèä ai1crr~1roveaTO-adõPdhe fcillowmg--
         --:ësolutions:
                WHEREAS, the Company has entered into that certain Agreement and Plan of Merger
                (the "Merger Agreement"), dated as of April 1,2007, by and among the Company,
                GrcatBanc Trust Company, not in its individual or corporate capacity, but solely as
                trustee of the Tribune Employee Stock Ownership Trust, which forms a pali oflhe
                Tribune Employee Stock Ownership Plan (the "ESOP"), Tesop Corporation, a Delaware
                corporation wholly owned by the ESOP, and EGI-TRB, L.L.c., a Delaware limited
                liability company (capitalized terms used but not defined herein shall have the meaning
               ascribed to them in the Merger Agreement);

               WHEREAS, pursuant to the Merger Agreement, at the Effective Time of the Merger, the
               directors ofTesop Corporation as of     the Effective Time shall be the initial directors of
               the Surviving Corporation and shall hold oftce until their respective successors are duly
               elected and qualificd, or their carlier death, resignation or removal (collectively, the
               "Post-Merger Directors"); and

               WHEREAS, the Post-Merger Directors arc expected to be: Dennis J. FitzSimons, Betsy
               D. Holden, William A. Osbom, Wiliam C. Pate, Maggie Wilderotter and Samuel ZeJl.
    I          NOW, THEREFORE, BE IT RESOLVED, that each of                        the Post.Merger Directors is
               hereby approved by the current Board of               the Company, for any and all
                                                                    Directors of

               purposes, to serve as a director otthe Surviving Corporation following the Effective
               Time of the Merger.

           Mr. Kenney next discussed certain amendments required to be made to the Director Deferred
           Stock plans as a result of the going private transaction. Given that defen'ed stock awards can no
           longer be tracked in the value of               Tribune stock after the closing, management recommends that
           accounts under the plans be converted to a cash equivalent (at $34 per share) and credited with
           interest going forward at a rate equal to 120% of               the long-tenn Applicable Federal Rateiunder
           the Internal Revenue Code, compounded quarterly. This is the same rate applied to cash
           deferrals under the Management Deferred Bonus Plan. Account balances, with interest, would
           then be paid out in accordance with Directors' previous elections. In addition, management
           recommends that participants in the Tribune Directors' Deferred Stock Plan be given an
           opportunity to accelerate their prior defelTaI elections. Following discussion, a motion was
           made, seconded and approved to adopt the following resolutions:

               RESOLVED, that the 1996 Tribune Company Nonemployee Director Stock
               Compensation Plan and the Times Mirror Company Noncmployec Directors Stock Plan

   I           be amended to provide (i) for the conversion of deferred stock account balances from
               Tribune common stock equivalents to cash equivalents in connection with the ESOP/Zel!
                                                                       2




                                                                                                                         TRB0415684
Professionals' Eyes Only
Hiahlv Confidential -- Attorneys' Eyes Only
                        Case 08-13141-BLS         Doc 8478-2      Filed 03/22/11     Page 38 of 39




I                  merger dosing and (Ii) for the establishment of an interest component (at 120% of the
                   long-term Applicable Federal Rate, compounded quarterly) on unpaid account balances;

                   FURTHER RESOLVED, that Directors with deferred stock awards under the 1996
                   Tribune Company Noncmployec Director Stock Compensation Plan or Tribune Company
                   Incentive Compensation Plan be permitted to change their payment elections prior to
                   December 31,2007 to provide for the acceleration otpayments following termination of
                   Board service; and

               FURTHER RESOLVED, that the Tribune Company Employee 8enefits Committee be,
               and hereby is, authorized (with full power of delegation), in the name and on behalf of
               the Board of Directors (or any committee thereof) to take all steps necessary to eCfect the
               foregoing resolution, including preparing, executing, delivering and filing the amendment
               and such other documents as may be required by lawaI' as may be deemed necessary or
               proper in connection with the matters set á)rth in these resolutions.

        SOLVENCY l)RESENT ATIONS

        Messrs. Bigelow and Grenesko first presented management's overview related to VRC's
        solvency       analysis. Messrs. Browning and Rucker ofVRC next reviewed its solvency analysis
         \vitli the Board. Management confirmed its belietthat VRC's analysis and the underlying

I        assumptions and projections arc reasonable, ¡fnot conservative, Diligence questions that had
         been posed by the banks to VRC and to management were previously made available to the
        Board. The Board (directly and through its counsel and financial advisors) posed its own
        questions to VRC and to management and received answers thereto. Without limitation, (i) VRC
        confirmed that its opinion was the result of its independent, professional advice without
        improper influence of management, (ii) VRC confirmed that it engaged in a significant testing of
        both management's base case and downside cases, (iii) VRC confirmed that it had receivcd all
        the information it had requested from the Company; (iv) VRC described its internal opinion
        review process as rigorous and confirmed that its fee would be the same whether it opined
        favorably or unfavorably as to solvency and (v) VRC explained the changes in its approach to
        PI-JONES valuation and that such change was not, in any event, outcome detenninative. After
        completion of VRC's review and presentation and all questions and answers, VRC rendered its
        opinion, and said that it would provide a \vritlen opinion brought down to closing. Management
        then advised the Board that management stands ready to deliver the closing certificate
        contemplated by the Credit Agreeinent as to solvency and that such certificate will be based
        upon its own analysis, as further supported by the VRC opinion and analysis. Thereupon, the
        Board recessed and the Special Committee met with its counsel anc! financial advisors.\Vhen
        the board reconvened, it was advised that the Special Committee recommendcd acceptance of
        the VRC opinion in satisfaction of the condition to closing set forth in thc Merger Agreement.

       Based upon the presentations and discussions at the meeting (as well as presentations and
       discussions at prior meetings ofthc Board, including on May 9. 2007 and December 4,2007)
I      and the recommendation otthe Special Conimittec, the Board, with Mr. Zell abstaining,
                                                            3




                                                                                                             TRB0415685
Professionals' Eyes Only
Hinhlv Confidential -- Attornevs' Eves Only
                     Case 08-13141-BLS        Doc 8478-2        Filed 03/22/11      Page 39 of 39




 I       determined (i) that it could rely in good faith on the VRC opinion and (ii) th8t the opinion is in
         form and substance satisfactory to the Company for purposes of Section 6.2( e) of the Merger
         Agreement.

         EXECUTIVE SESSION

         I'he Board then met in executive session.

         ADJOURNMENT

         There being no fuiihcr business to come before the Board, the meeting was adjourned at



                                                                !J i~
         3:00 p.m.




                                                              ~ --=t-
I




I                                                        4




Professionals' Eyes Only                                                                                      TRB0415686
Highly Confidential -- Attorneys' Eyes Only
